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 3
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 5   Attorney for Plaintiff: International Education Management Group, Inc.
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                                         ) CASE NO. '19CV1981 BAS LL
     INTERNATIONAL EDUCATION               )
11   MANAGEMENT GROUP, INC., a ) COMPLAINT FOR COPYRIGHT
     Delaware corporation,                 ) INFRINGEMENT; FEDERAL
12                                         ) UNFAIR COMPETITION;
                        Plaintiff,         ) CALIFORNIA UNFAIR
13                                         ) COMPETITION; CALIFORNIA
     vs.                                   ) FALSE ADVERTISING;
14                                         ) COMMON LAW
     ABROAD AND FUTURE, INC., a            ) MISAPPROPRIATION;
15   California corporation; WEI BAO, an ) BREACH OF CONTRACT
     individual; and DOES 1-25, inclusive, )
16                                         )
                        Defendants.        ) [DEMAND FOR JURY TRIAL]
17                                         )
                                           )
18                                         )
19
20         Plaintiff INTERNATIONAL EDUCATION MANAGEMENT GROUP,
21   INC. (hereinafter “IEM” or “Plaintiff”) for its Complaint against Defendants
22   ABROAD AND FUTURE, INC., BEVAN BAO and DOES 1-25 (Collectively
23   "Defendants"), allege:
24                            JURISDICTION AND VENUE
25         1.     This is a civil action arising under the copyright laws of the United
26   States, Title 17, 26 United States Code, §§ 101 et seq., and the unfair competition
27   laws of the United States, Title 35,1 United States Code, §§ 1051 et seq. This
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                                         COMPLAINT
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 1   Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

 2   question jurisdiction), 28 U.S.C. § 1338(a) (copyright infringement), 28 U.S.C. §
 3   1338(b) (unfair competition), and 28 U.S.C. § 1367 (supplemental jurisdiction).
 4         2.     Personal jurisdiction over Defendants ABROAD AND FUTURE,

 5   INC. and WEI BAO (hereafter referred to collectively as "Defendants") is vested

 6   and venue is proper pursuant to 28 U.S.C. § 1391 in the United States District

 7   Court for the Southern District of California since a substantial part of the events
 8   giving rise to the claims herein occurred in this District and Defendants knowingly
 9   and purposefully directed their infringing acts to this District, and/or against
10   Plaintiff IEM, knowing IEM is a resident of this District and would suffer any
11   injures from Defendants' conduct in this District, and IEM suffered the injures it
12   sustained from Defendants' wrongful acts alleged herein in this District.
13                                     THE PARTIES

14         3.     Plaintiff IEM is a Delaware corporation with its principal place of
15   business at 1500 State Street, San Diego, California. IEM, among other things, is
16   engaged in promoting global education by placement of international students into

17   California regional education programs with partnering institutions from high

18   school through graduate programs, providing on-campus support and meeting

19   students' residential needs.
20         4.     On information and belief, defendant ABROAD AND FUTURE,
21   INC. is a California corporation with its principal place of business in Anaheim,
22   California, whose registered agent for service was, at all relevant times set forth

23   herein InCorp Services, Inc., 5716 Corsa Ave., Suite 110, Westlake Village,

24   California. On information and belief, ABROAD AND FUTURE, INC. is

25   engaged in the business of and maintaining an on-line website

26   abroadandfuture.com. On information and belief, ABROAD AND FUTURE,
27   INC. was and is engaged in the business of placing international students regularly
28

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                                          COMPLAINT
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 1   and extensively advertises its services on the "abroadandfuture.com" website.

 2         5.     On information and belief, defendant WEI BAO (hereinafter “BAO”)
 3   is an individual and former employee and contractor of IEM and who was party to
 4   a written agreement executed on or about December 25, 2015, prohibiting him

 5   from use of any IEM intellectual property, or other trade secret or otherwise

 6   confidential material. On information and belief, BAO also uses the alias “Bevan

 7   Bao” when conducting business in California and, on occassion, “Bao Wei.” On
 8   information and belief, defendant BAO is an individual residing in China and in
 9   California, and at all times relevant to this action, has owned and controlled, and
10   continues to own and control, ABROAD AND FUTURE, INC.
11         6.     The true names and capacities, whether individual, corporate, or
12   otherwise, of the Defendants sued as Does 1 through 25 are unknown to Plaintiff,
13   who, therefore, sues them by such fictitious names. At such time as their true

14   names and capacities have been ascertained, Plaintiff will seek leave of Court to
15   amend this Complaint accordingly. On information and belief, Plaintiff alleges
16   that each of Does 1 through 25 was the agent, representative, or employee of each

17   of the other Defendants and was acting at all times within the scope of his/her

18   agency or representative capacity, with the knowledge and consent of the other

19   Defendants, and that each of Does 1 through 25 are liable to Plaintiff in
20   connection with one or more of the claims sued upon here and are responsible in
21   some manner for the wrongful acts and conduct alleged here.
22                        FACTS COMMON TO ALL CLAIMS

23         7.     IEM is a Delaware corporation with its principal place of business at

24   1500 State Street, Suite 100, San Diego, California. IEM is a global education

25   enterprise which partners with a number of academic institutions to provide

26   international student candidates access to various schools for academic pursuits
27   ranging from four-year high school to graduate degree programs. IEM is actively
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                                         COMPLAINT
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 1   engaged in providing comprehensive education services to internationals students

 2   including, but not limited to, recruitment, enrollment and continuing support both
 3   on and off campus. IEM has created a set of processes, customized information
 4   technology and advertising tools that has, over the last years, contributed to its

 5   overall success and growth. To promote its international business, and inform

 6   prospective clients of its expertise, and as part of its overall marketing and

 7   recruitment strategy, IEM created, developed and maintains a website at the URL
 8   "ieducationm.com" (hereinafter the "Website"). IEM employees authored the
 9   Website content within the scope of their employment relationship with IEM.
10         8.     IEM has invested substantial time, skill and resources in creating and
11   developing the Website. The Website is an original work of authorship and
12   contains copyrightable subject matter under the copyright laws of the United
13   States.

14         9.     The Website also bears IEM's name and logo notifying the public of
15   its authorship and ownership of the material therein.
16         10.    IEM is the owner of all right, title, and interest in and to the copyright

17   in the Website and the copyright registration, Reg. No. TX 8-737-274, with an

18   effective date of registration of April 11, 2018. A copy of the registration is

19   attached as Exhibit 1.
20         11.    Printouts from the Website incorporating the copyrighted material are
21   attached hereto as Exhibit 2.
22         12.    On information and belief, ABROAD AND FUTURE, INC. is a

23   company engaged in the business of providing international student candidates

24   access to various schools including schools within the County of San Diego.

25         13.    BAO was employed by IEM from approximately 2006 through 2013

26   and engaged by IEM as a contractor between approximately March 2014 and
27   September 24, 2015. During the period he was engaged by IEM, BAO had access
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                                          COMPLAINT
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 1   to proprietary and other confidential information belonging to IEM.
 2         14.    On or about December 25, 2015, BAO and IEM entered into a written
 3   agreement wherein BAO was prohibited from use of any proprietary documents,
 4   materials and other information relating to IEM or its business for his own benefit
 5   or that of any third party. Additionally, BAO agreed that the exclusive venue and
 6   jurisdiction for any dispute arising from the written agreement shall be the County
 7   of San Diego, California.
 8         15.    On information and belief, at the times relevant to the claims herein,
 9   BAO owned, or was a principal of, and/or was employed by Defendant ABROAD
10   AND FUTURE, INC.
11         19.    Defendants have misappropriated, copied, distributed, created works
12   of, and publicly displayed on ABROAD AND FUTURE, INC.'s website,
13   www.abroadandfuture.com. material from IEM's website without the permission
14   or authorization of IEM. Printouts from ABROAD AND FUTURE, INC.'s
15   website incorporating the infringing material are attached hereto as Exhibit 3
16   (hereafter the "Infringing Work"). Defendants copied verbatim nearly the entire
17   text of approximately eight pages from IEM's website and incorporated it verbatim
18   into ABROAD AND FUTURE, INC.'s website.
19         20.    On information and belief, Defendants intentionally copied the
20   Website with knowledge of IEM's ownership and copyright in this work.
21   Defendants have not copied the Website for informational purposes only, but have
22   made commercial use of IEM's Website and of the copyrighted material.
23         21.    On information and belief, Defendants willfully, deliberately and
24   knowingly used Plaintiffs copyrighted work for the purpose of promoting its
25   business and attracting new business in the field of international education in
26   competition with IEM. On information and belief, Defendants willfully,
27   deliberately and knowingly used Plaintiffs copyrighted work in the course of
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                                         COMPLAINT
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 1   designing ABROAD AND FUTURE, INC.'s commercial website.
 2         22.     On information and belief, Defendants failed to acknowledge the
 3   original source of IEM's content on the ABROAD AND FUTURE, INC.
 4   commercial website. Instead, on information and belief, Defendants intentionally
 5   and falsely represented the material as originating from and authored by
 6   Defendants, or employees thereof, through their use of the name " ABROAD AND
 7   FUTURE, INC.," and the ABROAD AND FUTURE, INC. firm logo and, by their
 8   inclusion of the material, attributing copyright ownership to ABROAD AND
 9   FUTURE, INC. on material knowingly appropriated from IEM.
10         23. On information and belief, at all relevant times herein, Defendants
11   knew, or reasonably should have known, that the Infringing Work would be
12   confusing and misleading the public as to the ownership of the copyright of the
13   infringing content of Defendants website.
14         24. IEM took prompt action upon learning of Defendants' wrongful conduct
15   by issuing a takedown notice on or about May 4, 2018. IEM is informed and
16   believes that Defendants complied with the notice and removed the infringing
17   material on or about        .
18                               FIRST CAUSE OF ACTION
19                  (Copyright Infringement - 17 U.S.C. §§ 501 et seq.)
20         26.     Plaintiff realleges and incorporates by reference the preceding
21   paragraphs.
22         27.     Since the creation of its works, IEM has complied in all respects with
23   the Copyright Revision Act of 1976 (Title 17, United States Code) and all other
24   laws governing copyright. IEM has secured the exclusive rights and privileges in
25   and to the copyright of Plaintiffs Website and has been granted Registration No.
26   TX 8-737-274 from the United States Copyright Office.
27         28.     IEM is the sole owner of all right, title, and interest in and to the
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                                           COMPLAINT
      Case 3:19-cv-01981-BAS-LL Document 1 Filed 10/11/19 PageID.7 Page 7 of 31



 1   copyright of Plaintiff s Website and the corresponding Certificate of Copyright
 2   Registration.
 3         29.     On information and belief, Defendants have infringed IEM's
 4   copyrighted work in violation of 17 U.S.C. § 501 by copying, distributing,
 5   creating derivative works, and publicly displaying works that were copied or
 6   caused to be copied from Plaintiffs Website and that are substantially similar, if
 7   not identical, to that copyrighted work.
 8         30.     On information and belief, Defendants' infringement commenced
 9   prior to and continuing subsequent to the effective date of registration of IEM’s
10   copyright in the Website. On information and belief, the infringement by
11   Defendants is willful and deliberate, with knowledge of IEM's copyright.
12         31.     As a result of the copyright infringement by Defendants, IEM has
13   suffered and will continue to suffer irreparable injury to its business reputation and
14   goodwill and has lost sales and profits in an amount not yet fully ascertained
15   and/or is entitled to and award of statutory damages. As a further result of
16   Defendants’ infringement of IEM’s copyrights, IEM is entitled to recover costs of
17   suit and attorney’s fees pursuant to 17 U.S.C. § 505.
18                           SECOND CAUSE OF ACTION 23
19                   (Federal Unfair Competition - 15 U.S.C. § 1125(a))
20         32.     Plaintiff realleges and incorporates by reference the preceding
21   paragraphs.
22         33.     Defendants' conduct described herein constitutes unfair methods of
23   competition and unfair and deceptive trade practices under the Lanam Act.
24         34.     Defendants' bodily appropriation of the Website in the Infringing
25   Work and their use of the ABROAD AND FUTURE, INC. name and logo on the
26   Infringing Work in interstate commerce constitute a false designation of the origin
27   and false representation of fact and as such violates Section 43(a) of the Lanam
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                                          COMPLAINT
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 1   Act, 15 U.S.C. § 1125(a).
 2         35.    Defendants' use of, or aiding and contributing to the use by ABROAD
 3   AND FUTURE, INC. attributing authorship and copyright ownership of the
 4   Infringing Work to ABROAD AND FUTURE, INC. constitutes a false
 5   designation of origin and false representation of fact and as such violates Section
 6   43(a) of the Lanam Act, 15 U.S.C. §1125(a).
 7         36.    Defendants' statements in the Infringing Work regarding the nature
 8   and quality of ABROAD AND FUTURE, INC.'s services and experience are false
 9   and misleading, material, and likely to deceive its audience, and as such constitute
10   false and misleading descriptions and representations of fact in violation of
11   Section 43(a) of the Lanam Act, 15 U.S.C. § 1125(a).
12         37.    On information and belief, Defendants have benefitted and profited in
13   an unknown amount from their unauthorized use of IEM's copyrighted work, as
14   well as from these false designations of origin and false representations of fact.
15   The exact amount of profits realized by Defendants as a result of their wrongful
16   acts is unknown to IEM at this time, and cannot be accurately ascertained until an
17   accounting is made.
18         38.    As a result of Defendants' wrongful actions IEM incurred damages in
19   an amount to be proved at trial consisting of, among other things, lost revenues,
20   injury to its reputation, and diminution in the value of and goodwill associated
21   with its business.
22         39.    Defendants' conduct complained of herein is malicious, fraudulent,
23   knowing, wilful, and deliberate entitling IEM to an accounting of Defendants'
24   profits, increased damages, and attorneys' fees and costs incurred in prosecuting
25   this action, pursuant to 15 U.S.C. § 1117.
26   ///
27   ///
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                                         COMPLAINT
       Case 3:19-cv-01981-BAS-LL Document 1 Filed 10/11/19 PageID.9 Page 9 of 31



 1                              THIRD CAUSE OF ACTION
 2         (California Unfair Competition - Cal. Bus. & Prof. Code § 17200 et seq.)
 3            40.   Plaintiff realleges and incorporates by references the preceding
 4   paragraphs.
 5            41.   Defendants ' conduct complained of herein constitutes an unlawful
 6   and unfair business practice in violation of California's statutory unfair
 7   competition laws.
 8            42.   Defendants' conduct has resulted in a wrongful diversion of business,
 9   money, and/or property from IEM to Defendants.
10            43.   As a result of this unfair competition by Defendants, IEM suffered
11   injury to its business reputation and goodwill, and lost sales and profits in an
12   amount not yet fully ascertained.
13            44.   Defendants' conduct complained of herein is malicious, fraudulent,
14   knowing, wilful, and deliberate entitling IEM to equitable restitution of
15   Defendants' profits attributable to such conduct.
16                             FOURTH CAUSE OF ACTION
17          (California False Advertising - Cal. Bus. & Prof. Code § 17500 et seq.)
18            45.   Plaintiff realleges and incorporates by references the preceding
19   paragraphs.
20            46.   The conduct of Defendants described herein constitutes false
21   advertising in violation of California's statutory prohibitions.
22            47.   Defendants' wrongful conduct has resulted in a wrongful diversion of
23   business, money, and/or property from IEM Purcell to Defendants.
24            49.   As a result of the false advertising by Defendants, IEM has suffered
25   injury to its business reputation and goodwill and lost sales and profits in an
26   amount not yet fully ascertained.
27   ///
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                                           COMPLAINT
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 1                             FIFTH CAUSE OF ACTION
 2                           (Common Law Misappropriation)
 3   50.   Plaintiff realleges and incorporates by reference the preceding paragraphs.
 4   51.   IEM invested substantial time, skill and resources in developing its Website,
 5   which Defendants have wrongfully appropriated and used at no cost to Defendants
 6   and without the authorization or consent of IEM, and as such constitutes an
 7   unlawful misappropriation of IEM's property interests in the Website.
 8   53.   As a result of this misappropriation by Defendants, IEM suffered injury to
 9   the value of the Website, its business reputation and goodwill, and lost sales and
10   profits in an amount not yet fully ascertained.
11                             SIXTH CAUSE OF ACTION
12                                  (Breach of Contract)
13         54.    Plaintiff realleges and incorporates by reference the preceding
14   paragraphs
15         55.    IEM entered into a contract with Defendant BAO on or about
16   December 25, 2016 wherein BAO was prohibited from use of any proprietary IEM
17   documents, materials and other information relating to IEM or its business for his
18   own benefit or that of any third party.
19         56.    IEM performed all of its obligations under the terms of the
20   Agreement,
21         57.    On information and belief, BAO breached December 25 agreement by
22   continuing to use non-public and confidential information and material in
23   violation of his obligations under the Agreement. In addition, he willfully
24   infringed on IEM's copyrights, trade secrets and other proprietary rights by using
25   such proprietary material for his personal gain without the knowledge and consent
26   of IEM.
27   ///
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                                         COMPLAINT
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 1         58.    On information and belief, as a result of BAO's breach, IEM suffered
 2   damages, including lost profits, in an amount to be proved at trial.
 3                                 PRAYER FOR RELIEF
 4         WHEREFORE, plaintiff IEM prays that:
 5         (1)    Defendants account to IEM for all gains, profits, and advantages
 6   derived by Defendants by their infringement of Plaintiffs' copyrights or such
 7   damages as are proper, and since Defendants intentionally infringed plaintiffs'
 8   copyrights, for the maximum allowable statutory damages for each violation;
 9         (2)    IEM be awarded actual and/or statutory damages for Defendants'
10   copyright infringement in an amount to be determined at trial;
11         (3)    IEM be awarded damages as a result of Defendant BAO’s breach of
12   contract in an amount to be determined at trial;
13         (4)    IEM be awarded treble damages and punitive damages based on
14   Defendants' wilful, malicious and unlawful conduct;
15         (5)    IEM be awarded its reasonable attorneys' fees and costs of suit,
16   including its costs of suit; and
17         (6)    IEM be awarded such other and further relief as this Court deems just.
18
19   Dated: October 10, 2019                    Respectfully submitted,
20
21
                                        By:     c/Carl M. Lewis
22                                              CARL M. LEWIS
                                                Attorney for Plaintiff
23                                              E-mail: cmllaw@pacbell.net
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                                              COMPLAINT
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 1                                   JURY DEMAND
 2        Plaintiff demands trial by jury on all issues so triable.
 3   Dated: October 10, 2019                 Respectfully submitted,
 4
 5
                                     By:     /Carl M. Lewis
 6                                           CARL M. LEWIS
                                             Attorney for Plaintiff
 7                                           E-mail: cmllaw@pacbell.net
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                                           COMPLAINT
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 1                                                  EXHIBITS INDEX
 2
 3   Exhibit 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
 4   Exhibit 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
 5   Exhibit 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
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                                                           COMPLAINT
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Certificate of Registratio n
                     This Certificate issued under the seal of-the Copyright
                     Office in accordance with title 17, U11ired States Code,
                     attests that registration has been mude for the work
                     identified below. The information on this certificate has
                     been made a part of the Copyright Office records.              Rcgi:,tra tion   umber
                                                                                    TX 8-737-274
                                                                                    Effective Date of Registration:
                                                                                    April ll,2018
                 ~ ~ t~                                           octo<




  Title

                      T itle of Work:     lncernati onal Educatio n Manage ment's Website and Confont


  Completion/Publication
               Y car of Conwlc tion:      2009
            Date of 1st Pub lication:     February OJ, 20 LO
           Nation of 1'·1 Publication:    United Stale.'>

  Author

                 •           Author:      International Educatio n Management
                     Author Created:      text
               Work made for hire:        Yes
                       Citizen of:        United Slates
                    Domiciled i,n:        United Sta.tes

  Copyright Claim ant

              Copyrig ht Claiman t:      Jnlemational Education Manage ment
                                         1500 State Street, San Diego, CA, 92 10 L, United Slates




              Organization      ame:     International Education Management
                              Email:     k.iel1.vo@ieducationm.com
                           Address:      1500 State Street
                                         San Diego, CA 9210 I United States




                                         Kieu Vo
                                         April 11, 2018



                                                  Exh. 1                                                     Page J of2
                                                  14
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                               Exh. 1
                               15
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ieducationm.com



#1 http://ieducationm.com/wp-content/uploads/2015/06/IEM_HS_Brochure2014_WEB.pdf


                        Commitment to                                         Global




                                                           I
                            Excellence                                    Crtizenship
                      JEM sets the bar for educational            Our programs encourage students

                      standards by offering rigorous               to apply their passion for school

                             and challenging                                and success to

                              coursework                               become learners and

                              through our                                leaders within the

                            partner schools                              global community




                     Compassionate                                    Advancement
                           Guidance                                    with Balance



           I        We provide comprehensive

                student services that combine care

                          and compassion

                          with superior
                                                                  Our students excel far beyond

                                                                      the classroom as they

                                                                       strive to establish

                                                                       a fulfilling balance

                       e.'tpertise in cross-                               between

                       cultural tran ition                                school work,

                                                                           and hfe




                                                                  IEM High School Program Overview     I 4




                                                         Exh. 2
                                                          16
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#2 http://ieducationm.com/wp-content/uploads/2015/06/IEM_HS_Brochure2014_WEB.pdf




                     "Working with IEM has been a wonderful experience. As
                       an organization. IEM diligently works to provide every
                   student with the support that they need to be successful
                            in and outside of classroom. I highly recommend
                             IEM to other institutions. students, and parents."
                                  -Dennis ·coach· Snyder, President/Founder,
                                              Escondido Charter High School



                        "As a parent. I know how important it is to ensure that
                           students receive the best possible education. IEM
                    understands students' needs and academic aspirations.
                  IEM provides students with the necessary tools to improve
                 English. be academically successful, integrate into American
                          culture, and grow during their time on the program"
                                                   - Scott Marshall, Headmaster,
                                                                The Rock Academy




                                          Exh. 2
                                           17
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#3 http://ieducationm.com/wp-content/uploads/2015/06/IEM_HS_Brochure2014_WEB.pdf




  Why Do Schools Partner with IEM?
     Our international students enhance the cultural dynamic of classrooms within our
  partner high schools. IEM acts as a solid partner w ith these high schools to support
  its students with comprehensive services outside of the classroom. IEM assumes
  a high level of responsib ility for each student. allowing the school to focus on its
  academic curriculum and uphold its policies and regulations. With a streamlined
  admissions process. and thorough document collection and verification. IEM assumes
  much of the work involved in bringing these international students from their home
  country and integrating them with their American peers. IEM brings o the table
  superior knowledge and expertise in international education to build a cohesive
  bond between the high schools. educators. parents. and students.




                                                Exh. 2
                                                 18
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#4 http://ieducationm.com/wp-content/uploads/2015/06/IEM_HS_Brochure2014_WEB.pdf




                                    IEM Mission 6 Values
                                    Combining a passion for education
                                    with the expertise necessary for the
                                    advancement of every student


         IEM is an international educational management company with core expertise in international
       student recruitment. curriculum development, student services, and specialized university
       counseling. We always put student academic success and student growth first. and are
       proud to have provided thousands of students from all corners of the globe with the life-
       changing opportunity to fulfill their educational goals abroad.

         At IEM. we leverage decades of management experience in international education and
       presently consist of a network of international recruitment agents. a global educational
       cooperative network. and trusted partners worldwide. Through the knowledge and expertise
       that only comes with experience. we have developed a set of robust processes. paired
       with customized information technology tools. that provide us true competitive advantage
       in student case management We take a profound interest in the development of our
       students. from first meeting to graduation day and beyond.




                                               Exh. 2
                                                19
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#5 http://ieducationm.com/pre-high-school-program/




  International Education Management's Pre-High School Program is designed to assist international students in acquiring the language skills needed to succeed
  academically, develop the social skills required to adjust and adapt to a new culture, and provide the tools necessary for dealing with the emotional stress of living
  in   a new environment.




                                                                              Exh. 2
                                                                               20
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#6 http://ieducationm.com/about/




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                                              •                                     .11                               \1)

  COMMITMENT TO                     COMPASSIONATE                    ADVANCEMENT WITH                             GLOBAL
    EXCELLENCE                        GUIDANCE                           BALANCE                               CI T IZENSHIP
EM sets the bar for educational    We provide comprehensive                Our students excel far           Our programs encourage
standards by offering rigorous    student services that combine         beyond the classroom as          students to apply their passion
 and challenging coursework        care and compassion with              they strive to establish a      for school and strive to become
 through our partner schools       superior expertise in cross       fulfilling balance between school   learners and leaders within the
                                       cultural transition.                    work and life.                  global community.




                                                                  Exh. 2
                                                                   21
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#7 http://ieducationm.com/university-counseling/




                                                      10THGRADE




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#8 http://ieducationm.com/become-a-host-family/



           Have you ever thought about hosting an                                                             BECOMEAHOST
                   international student?                                                                        FAMILY
                                                                                                                  HOW TO APPLY
   IEM's Homestay Program offers families an amazing opportunity to inspire a child and develop a stronger
   cultural awareness and appreciation. As you open your heart and your home to an exceptional young
   global citizen from another country, you become part of living and building cooperation , understanding,
   unity and peace between nations.
                                                                                                                APPLY
      Ongoing support and guidance from IEM staff throughout your hosting experience                            Apply via our online application
                                                                                                                form. OR Contact us via email at
      A rich exposure to another culture in your own home
                                                                                                                nomestay@ieducationm.com
                                                                                                                with a short description of
      An opportunity for your family to learn and/or practice a new language
                                                                                                                yourself and your family, number
                                                                                                                of rooms available for
      Inclusion in yearly ceremonies and activities
                                                                                                                prospective studenVs, and your
                                                                                                                motivation for participating in the
      A deep, rewarding connection with your student that will grow with your family and last a lifetime
                                                                                                                program. Also, make sure you
      A reliable monthly compensation for at least an academic year, as long as you host a student              provide your telephone number,
                                                                                                                address. and the best time to
                                                                                                                contact you.




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abroadandfuture.com



#1 http://www.abroadandfuture.com/download/af.pdf




                Compassiona e Guidance




                Global Citizens ip




                Commitment to        cellence
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#2 http://www.abroadandfuture.com/download/af.pdf




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#3 http://www.abroadandfuture.com/download/af.pdf




                                          Exh. 3
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#4 http://www.abroadandfuture.com/download/af.pdf




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                                             SUPPORT,
                                         COMMITMENT &
                                              PASSION
                             The value of global education is celebrated the world over. Vig -
                             or, creativity. problem- solvin g, toamwOfk, open-mindedness.
                             diversity, and crossdisciplinary reasoning are the skills an d in-
                             telligonce.s that dr ive innovation in the new and emerging world
                             economy.

                             AF is an internat ional educational management organization
                             wit h core e;<pertise in international st udent e;<change, curricu -
                             lurn de\'olopmont, student services and specialised university
                             counselling. We always put students' academic success and
                             t heir growth in tho first place, and aro prnud to have provid-
                             ed th ousands of students from all corners of t he globe wi t h
                             t he life-ch anging opportunity t o fulfil their educational goals
                             abroad.

                             We leverage years of management experience in intern at ion-
                             al education, a network of international recruitrr1ent agents, a
                             global educational cooperative netwo,1;; and tru sted partners
                             worldwide. Through tho knowledge and e;<pertise that only
                             comes with experience, wo have developed a set of robust pro-
                             cesses, paired with customized infom1at ion technology, which
                             provide us true competitive advantage in student management .
                             We take a profound interest in the development of our stu dents,
                             from first moot ing t hrough to graduation day and beyond.




                                                                    Exh. 3
                                                                     27
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#5 http://www.abroadandfuture.com/high-school-pathway/




   High School Pathway Program is designed to assist intern ational students in          WHAT YOU WILL Gffi
   acq uiring the la nguage skills needed to succeed academ ically, develop the social   • Heightened rea ding and writing comprehension
   skills requ ired to adjust and adapt to a new culture, and provide the tools
                                                                                         • Effective communication and oral presentation skills
   necessary for deal ing with t he emotional stress of living in a new environment.     • Enhanced cultural, communicative, and social familiarity
   From engaging classes to waterpark excursions. the program will fosters               • cultural excursions to enrich t he American exper ience
   friendship, awareness, and personal growth! Each student learns and experiences
   new customs, cultures and styles and is better prepared for life's many journeys.




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#6 http://www.abroadandfuture.com/




                                          BE S T COSTOMI ZE D            S E RVIC E S F OR     S T UD E NTS & SCHOOLS.



                                                            'ON E ' SOLUT I ON




             -
  Commitment to Excellence
  Set the bar for educational standards
                                                         e
                                              Advancement with Balance
                                               Our students excel far beyond the
                                                                                                    e
                                                                                               Global Citizenship

                                                                                           Encourage students to apply their
                                                                                                                                          -
                                                                                                                                Compassionate Guidance

                                                                                                                                  Provide comprehensive student
   by offering rigorous and challenging       classroom as they strive to establish a      passion for school and success to      services that combine care and
    coursework through our partner             fu lfilling balance between work and       become learners and leaders within   compassion with superior expertise in
               schools.                                        life.                            the global community.                cross-cultural transition.




                                                                                      Exh. 3
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#7 http://www.abroadandfuture.com/college-pathway/




                                                                YOUR PATHWAY TO UNIVERSITY




                             e
                            12TH GRADE
  o Prepare documentations for college applications o Submit college
                                                                                                                e
                                                                                                               11TH GRADE
                                                                                   o Complete all requ ired tests for college application o Understanding of
                               application                                                   college application process and academic standing




                             e
                            9TH GRADE
 o Establishing famil iarity with United States higher education system o
                                                                                                                e
                                                                                                               10TH GRADE
                                                                                 o Emphasis on test technique and strategies, reading and writing, vocabulary
 Emphasis on reading comprehension, writing skills and analytical ability          expansion and analytical skills o Begin to compile a student portfolio for
                                                                                                              college admissions




                                                                            Exh. 3
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#8 http://www.abroadandfuture.com/hostfamily/


                                                         B ECOM E A HOST FAM ILY NOW

                                                                Hos-      FAM      LY   APPLICAT           ON




                                                                            FHiiiihfi
                                                                                                                  APPLY
  Have you ever thought about hosting an international student?
                                                                                                                  Contact us via ema il at hello@abroadfuture.com
  AF Homestay Program offers families an amazing opportunity to inspire a child and develop a stronger
                                                                                                                  with a short description of yourself and your family,
  cultural awareness and appreciation. As you open your heart and your home to an exceptional young global
  citizen from another country, you become part of living and building cooperation, understanding, unity and      number of rooms available for prospective

  peace between nations.                                                                                          studenus. and your motivation for participating in
                                                                                                                  the program. Also, make sure you provide your
     Ongoing support and guidance from our staff t hroughout your hosting experience
                                                                                                                  telephone number. address, and the best time to
     A rich exposure to another culture in your own home
                                                                                                                  contact you.
     An opportunity for your family to learn and/or practice a new language
     Inclusion in yearly ceremonies and activities                                                                Fill out the application form and provide

     A deep. rewardlng con nection with your student that will grow with your family and last a lifetime          one family picture and you r house front picture.
                                                                                                                  The student bedroom and bathroom pictures are
     A reliable monthly compensation for at least an academic year. as long as you host a student
                                                                                                                  needed as well.
  We are currently seeking families to host high school students. If you are interested in becoming a host
                                                                                                                  HOUSE VISIT BY STAFF
  fam ily, but want some more information before applying, please complete the form below. Our Student
  Services Department wi ll contact you shortly.                                                                  Furthermore, We will conduct a background check

  Opening your home to an international student presents a wonderful opportunity to share American culture.       for all fam ily members over 18 years old.

  traditions. values and beliefs as well as to help shape the future of a young person looking to become a part   CONFIRMATION LITTER
  of our community.
                                                                                                                  You will receive a confirmation letter indicating that
                                                                                                                  you have bee n selected for our program.




                                                                                      Exh. 3
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